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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 18-6091-GW(SKx)                                              Date      November 8, 2018
 Title             Pretty in Plastic, Inc. v. Maryellis Bunn, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            Katie Thibodeaux
                 Deputy Clerk                          Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                        Brian C. Lynch                                     Carlo F. Van den Bosch
                        Connor Lynch                                         Gazal Pour-Moezzi
 PROCEEDINGS:                DEFENDANTS' MOTION TO DISMISS COMPLAINT [17]


Court hears oral argument. The Tentative circulated and attached hereto, is adopted as the Court’s Final
Ruling. The Court would grant in part and deny in part Defendants’ Motion. The Court would deny the
Motion as to the breach of contract claim but would grant as to the remaining claims. Pursuant to
Federal Rule of Civil Procedure 15(a)(2), the Court would give leave to amend and as such Plaintiff
shall be given until November 29, 2018 to file a First Amended Complaint.




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                                                                 Initials of Preparer   JG
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 Pretty in Plastic, Inc. v. Maryellis Bunn et al.; Case No. 2:18-cv-06091-GW-(SKx)
 Tentative Ruling on Motion to Dismiss



 I.     Background
        Plaintiff Pretty in Plastic, Inc. (“Plaintiff” or “PIP) sues Defendants Maryellis Bunn
 (“Bunn”) and 1AND8, Inc. (“1AND8” and, collectively with PIP, “Defendants”) for: (1)
 Copyright Infringement, 17 U.S.C. §§ 106, et seq.; (2) Breach of Contract; (3) Unjust Enrichment;
 and (4) Unfair Competition, Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL claim”). See
 generally Complaint, Docket No. 1. Defendants move to dismiss the complaint in full. See
 generally Motion to Dismiss (“Motion”), Docket No. 17. Plaintiff opposes. See generally
 Opposition to Motion (“Opp’n”), Docket No. 21.
        The Complaint alleges the following: PIP was founded by “Julie B.” in Los Angeles in
 2006. Complaint ¶ 2. Plaintiff is a production and fabrication studio for art installations, pop art
 projects, fine art fabrication, multiples, and designer toys. Id. ¶ 3. PIP employs and collaborates
 with creatives (presumably artists) to deliver projects to paying clients and customers. Id. ¶¶ 3, 5.
 Julie B., as an artist and founder of PIP, has been featured in LA Weekly, Juxtapoz, Design Bureau,
 Reading Rainbow, NPR’s Morning Edition, and was co-curator for “The Art of Toys” exhibit at
 the Lancaster Museum of Art and History. Id. ¶ 4.
        1AND8 owns and operates the “Museum of Ice Cream.” Id. ¶ 9. Each Museum of Ice
 Cream location is a “pop-up” business in a repurposed building that features ice cream themed
 rooms through which groups of customers walk. The rooms feature artistic exhibits and immersive
 experiences, bright playful colors, and the locations are intended to remind visitors of ice cream
 and evoke feelings of nostalgia. Id. ¶ 10.
        In September 2016, 1AND8 contacted PIP about creating a room installation at the Los
 Angeles Museum of Ice Cream’s Spring 2017 exhibition. Id. ¶ 11. Bunn personally asked PIP to
 bid on one item and four rooms, including a “Rainbow Sherbet Room.” Id. ¶ 12. PIP prepared
 several proposals, but before sharing them, asked on November 3, 2016 that Defendants sign a
 Non-Disclosure Agreement (“NDA”), which Bunn signed that day. Id. ¶¶ 13-14. Later that day,
 PIP sent 1AND8 concepts and designs for each of the four rooms. Id. ¶ 16. Each design was
 marked as “property” of PIP which could not be “reproduced without written permission.” Id.
 The design for the Rainbow Sherbet Room included a solid-white unicorn with a long gold horn.


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 Id. ¶ 17. PIP and 1AND8 never reached an agreement for use of PIP’s designs. Id. ¶ 18.
        Just under a year later, in October 2017, a newsletter for the San Francisco Museum of Ice
 Cream featured a solid-white unicorn with a long gold horn. Id. ¶ 19. PIP contacted Defendants
 to explain the use of the unicorn. Id. ¶ 21. Around that time, in an Instagram post, the Museum
 of Ice Cream stated:
                When designing MOIC, our Co-Founder, Maryellis Bunn, wanted
                to create a space that commemorated the city’s beautiful message of
                cohesion and inclusivity. MOIC SF’s RAINBOW room, uses the
                symbolism of unicorns & rainbows as a tribute to San Francisco’s
                history of acceptance.
 Id. ¶ 24. Bunn also described the Rainbow Sherbet Room at the San Francisco Museum of Ice
 Cream as her direct response to the “pride” celebration in San Francisco. Id. ¶ 26.
        The various Museums of Ice Cream have received nationwide attention and Bunn has
 declared that she expects each location to garner at least $10 million in ticket sales. Id. ¶ 30. The
 unicorn in the San Francisco Rainbow Sherbet Room has been a “HUGE hit” and featured in social
 and other media. Id. ¶¶ 31-32. The unicorn is featured on the Museum of Ice Cream website.
        On June 18, 2018, the United States Copyright Office accepted an application for copyright
 registration for the original work, Pretty in Plastic Rainbow Sherbet Room Design Proposal, and
 assigned it case number 1-6689555661. Id. ¶ 40.
        Plaintiff alleges that Defendants’ infringement of its copyright has been undertaken
 knowingly and with intent to financially gain from the protected work. Id. ¶ 42. Plaintiff further
 alleges that Defendants violated the NDA by using Plaintiff’s design propose at the San Francisco
 Museum of Ice Cream. Id. ¶ 49. Likewise, Plaintiff asserts that Defendants have been unjustly
 enriched through their wrongful use of Plaintiff’s design proposals. Id. ¶ 53. Finally, Plaintiff
 asserts its UCL claim based on Defendants’ unauthorized use of PIP’s copyrighted work. Id. ¶ 58.
 II.    Legal Standard
        Under Federal Rule of Civil Procedure (“Rule”) 12(b)(6), a defendant may move to dismiss
 for failure to state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). A complaint
 may be dismissed for failure to state a claim for one of two reasons: (1) lack of a cognizable legal
 theory; or (2) insufficient facts under a cognizable legal theory. Bell Atl. Corp. v. Twombly, 550
 U.S. 544, 555 (2007); see also Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th
 Cir. 2008) (“Dismissal under Rule 12(b)(6) is appropriate only where the complaint lacks a
 cognizable legal theory or sufficient facts to support a cognizable legal theory.”).


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        In deciding a Rule 12(b)(6) motion, a court “may generally consider only allegations
 contained in the pleadings, exhibits attached to the complaint, and matters properly subject to
 judicial notice.” Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007). The court must construe
 the complaint in the light most favorable to the plaintiff, accept all allegations of material fact as
 true, and draw all reasonable inferences from well-pleaded factual allegations. Gompper v. VISX,
 Inc., 298 F.3d 893, 896 (9th Cir. 2002); Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th
 Cir. 2001), amended on denial of reh’g, 275 F.3d 1187 (9th Cir. 2001); Cahill v. Liberty Mutual
 Ins. Co., 80 F.3d 336, 337-38 (9th Cir. 1996). A court is not required to accept as true legal
 conclusions couched as factual allegations. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Where a
 plaintiff facing a Rule 12(b)(6) motion has pleaded “factual content that allows the court to draw
 the reasonable inference that the defendant is liable for the misconduct alleged,” the motion should
 be denied. Id.; Sylvia Landfield Trust v. City of Los Angeles, 729 F.3d 1189, 1191 (9th Cir. 2013).
 But if “the well-pleaded facts do not permit the court to infer more than the mere possibility of
 misconduct, the complaint has alleged − but it has not show[n] . . . the pleader is entitled to relief.”
 Iqbal, 556 U.S. at 679 (citations omitted).
        If a court dismisses certain claims, “[l]eave to amend should be granted unless the district
 court ‘determines that the pleading could not possibly be cured by the allegation of other facts.’”
 Knappenberger v. City of Phoenix, 566 F.3d 936, 942 (9th Cir. 2009) (quoting Lopez v. Smith, 203
 F.3d 1122, 1127 (9th Cir. 2000) (en banc)).
 III.   Discussion
        A. Judicial Notice
        Defendants seek judicial notice of the Merriam-Webster Dictionary definition of “unicorn”
 and the “unicorn” entry in the Encyclopedia Britannica. See generally Request for Judicial Notice
 (“RJN”), Docket 18. The Merriam-Webster definition describes unicorns as “usually white.” Id.,
 Exhibit A. Plaintiff opposes on the ground that the fact “that unicorns are commonly depicted as
 white . . . is subject to reasonable dispute.” See Opp’n at 5-6. Plaintiff’s argument misses the
 mark. The dictionary definition and encyclopedia entry for unicorn are “not subject to reasonable
 dispute,” and courts regularly notice such materials. See, e.g., Singh v. Ashcroft, 393 F.3d 903,
 905 (9th Cir. 2004) (taking judicial notice of an article in the Encyclopedia Britannica); Sexy Hair
 Concepts, LLC v. Conair Corp., No. 2:12cv02218-CBM, 2013 WL 12119721, at *3 (C.D. Cal.
 Feb. 25, 2013) (taking judicial notice of a definition in Merriam-Webster).



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        B. Copyright Infringement
        To demonstrate copyright infringement, a plaintiff must show: “(1) ownership of a valid
 copyright, and (2) copying of constituent elements of that work that are original.” Feist Publ’ns,
 Inc. v. Rural Tel. Servs. Co., 499 U.S. 340, 361, 111 S.Ct. 1282, 113 L.Ed.2d 358 (1991). “[T]he
 second element has two distinct components: ‘copying’ and ‘unlawful appropriation.’”
 Rentmeester v. Nike, Inc., 883 F.3d 1111, 1117 (9th Cir. 2018).
        “When the plaintiff lacks direct evidence of copying, he can attempt to prove it
 circumstantially by showing that the defendant had access to the plaintiff’s work and that the two
 works share similarities probative of copying.” Id.
          “Proof of unlawful appropriation—that is, illicit copying—is necessary because copyright
 law does not forbid all copying.” Id. “[A] defendant incurs no liability if he copies only the ‘ideas’
 or ‘concepts’ used in the plaintiff’s work. To infringe, the defendant must also copy enough of
 the plaintiff’s expression of those ideas or concepts to render the two works ‘substantially similar.’
 ” Id. As the Ninth Circuit recently clarified, the term “substantial similarity” means different
 things to “copying” and “unlawful appropriation.” Id. The Ninth Circuit explained:
                To prove copying, the similarities between the two works need not
                be extensive, and they need not involve protected elements of the
                plaintiff’s work. They just need to be similarities one would not
                expect to arise if the two works had been created independently. To
                prove unlawful appropriation, on the other hand, the similarities
                between the two works must be “substantial” and they must involve
                protected elements of the plaintiff’s work.
 Id.
        To determine whether works are substantially similar for unlawful appropriation, courts
 employ a two-part test: an intrinsic test and an extrinsic test. Id. at 1118. “The intrinsic test is a
 subjective comparison that focuses on ‘whether the ordinary, reasonable audience’ would find the
 works substantially similar in the ‘total concept and feel of the works.’ ” Cavalier v. Random
 House, Inc., 297 F.3d 815, 822 (9th Cir. 2002) (citing Kouf v. Walt Disney Pictures & Television,
 16 F.3d 1042, 1045 (9th Cir.1994)). Because the intrinsic test is a “subjective assessment of the
 concept and feel of two works,” Shaw v. Lindheim, 919 F.2d 1353, 1360 (9th Cir. 1990), a
 determination of two works’ intrinsic similarities “must be left to the jury,” Smith v. Jackson, 84
 F.3d 1213, 1218 (9th Cir. 1996). A court may dismiss a complaint on a 12(b)(6) motion, however,
 for failing to satisfy the extrinsic test. See Schkeiban v. Cameron, No. CV 12-0636-R-(MANx),



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 2012 WL 5636281 (C.D. Cal. Oct. 4, 2012), aff’d, 566 F. App’x 616 (9th Cir. 2014) (dismissing a
 complaint with prejudice because the plaintiff could not satisfy the extrinsic test).
          Citing Cavalier, the Rentmeester court summarized the extrinsic test as follows:
                 The extrinsic test assesses the objective similarities of the two
                 works, focusing only on the protectable elements of the plaintiff’s
                 expression. Before that comparison can be made, the court must
                 “filter out” the unprotectable elements of the plaintiff’s work—
                 primarily ideas and concepts, material in the public domain, and
                 scènes à faire (stock or standard features that are commonly
                 associated with the treatment of a given subject). The protectable
                 elements that remain are then compared to corresponding elements
                 of the defendant’s work to assess similarities in the objective details
                 of the works.
 Rentmeester, 883 F.3d at 1118 (citations omitted).
          Here there is no dispute that Plaintiff owns a valid copyright, or that Defendants had access
 to Plaintiff’s design. Further, the Court thinks it clear that Plaintiff’s design is similar enough to
 Defendants’ work for the “copying” prong of the inquiry because “the similarities between the two
 works need not be extensive, and they need not involve protected elements of the plaintiff’s work.”
 Id.
          The task for the Court, therefore, is to apply the extrinsic test to determine whether the
 Complaint has stated a copyright infringement claim. In applying the extrinsic test, the Court must
 first define what exactly the Plaintiff alleges is the copyrighted material. Then the Court must
 filter out the non-protectable aspects of that material and compare the protectable aspects of
 Plaintiff’s work against the corresponding elements of Defendant’s. “The key question always is:
 Are the works substantially similar beyond the fact that they depict the same idea?” Mattel, Inc.
 v. MGA Entm’t, Inc., 616 F.3d 904, 917 (9th Cir. 2010), as amended on denial of reh’g (Oct. 21,
 2010).
          As a threshold matter, the Court believes that the Plaintiff’s copyright infringement claim
 rests on the basis that the unicorn used in the “Rainbow Room” of the San Francisco Museum of
 Ice Cream is substantially similar to the unicorn in Plaintiff’s proposed design for the “Rainbow
 Sherbet Room.” See Complaint ¶ 19. In other words, Plaintiff’s claim is not based on the
 “Rainbow Sherbet Room” design proposal as a whole. Plaintiff does not seem to contest this
 framing of the issue. See Opp’n 7-12 (comparing the protectable elements of the unicorns alone).
 Therefore, the Court will analyze whether the unicorns themselves are substantially similar. The



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 Court will compare the following picture from page 3 of Plaintiff’s Opp’n:




        Next, the Court must filter out the protectable elements of Plaintiff’s unicorn. Defendants
 argue that “Plaintiff does not have a monopoly on all depictions of a unicorn,” see Motion at 9,
 and that the unicorn’s white color and long golden horn are not protectable because unicorns are
 commonly depicted with those features, see id. at 12. Plaintiff responds that Defendants copied
 “[a]t least twenty distinct protectable elements,” including:
                (1) both the unicorn in PIP’s design proposal and Defendants’
                rainbow room are approximately the same angle to the back wall of
                the room and face stage left;
                (2) both unicorns have relatively realistic equine bodies;
                (3) both unicorns are standing mid-walking stride with opposite
                pairs of hooves matching (the hooves on one side are both nearer to
                the center than the hooves on the other);
                (4) both unicorns are depicted with their weight on their front legs;
                (5) both unicorns are looking slightly away from the forward front
                leg;
                (6) both unicorns have a relaxed tail hanging from the dock;
                (7) both unicorns’ ears are up;
                (8) both unicorns’ manes fall to the same side (the side with the front
                leg back), and the manes fall close to the neck with no partition (i.e.
                a portion of the mane does not fall to the opposite side);
                (9) both unicorns appear to lack forelocks entirely (the piece of the
                mane on a horse that falls down the forehead);
                (10) both unicorns have a shiny gold horn that spirals the entire
                length of the horn, with a similar helix angle in both horns;



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                (11) both unicorns’ horn length is similarly proportioned to the size
                of each unicorn’s neck (and relatively the same length);
                (12) both unicorns have a relatively flat back with low withers;
                (13) both unicorns have strong chest muscles with flexed biceps and
                triceps;
                (14) both unicorns have strong masseter muscles in the cheek;
                (15) both unicorns have a similar shoulder slope (the highest point
                of the wither to the shoulder point to the elbow point);
                (16) both unicorns have a relatively long neck;
                (17) both unicorns have a relatively large head;
                (18) both unicorns are illuminated from above to cast shadows under
                the unicorn body;
                (19) both unicorns are a semi-gloss white; and
                (20) both unicorns have monochromatic bodies (including parts that,
                if on a horse, would ordinarily have color, such as the hooves, eyes,
                and nose).
 Opp’n at 7-8. In reply, Defendants argue that these are not protectable aspects because they “are
 inherent to the treatment of unicorns.” Reply, Docket No. 22, at 4. The Court is inclined to agree
 with Defendants and would conclude that Plaintiff has not established any protectable aspects of
 its unicorn.
         “[E]xpressions that are standard, stock, or common to a particular subject matter or medium
 are not protectable under copyright law.” Satava v. Lowry, 323 F.3d 805, 810 (9th Cir. 2003). In
 the context of animal sculptures, this means that a plaintiff may not prevent others from copying
 aspects of the sculptures resulting from the animal’s physiology. See id. In Satava, for example,
 the Ninth Circuit held that an artist who produced jellyfish sculptures:
                [M]ay not prevent others from depicting jellyfish with tendril-like
                tentacles or rounded bells, because many jellyfish possess those
                body parts. He may not prevent others from depicting jellyfish in
                bright colors, because many jellyfish are brightly colored. He may
                not prevent others from depicting jellyfish swimming vertically,
                because jellyfish swim vertically in nature and often are depicted
                swimming vertically.
 Id.
         Granted, the Court recognizes that it is a bit strange to talk about the physiology or nature
 of a mythical creature but thinks that it is on solid ground in stating that a unicorn has the
 physiology of a horse plus a horn on its forehead. Therefore, Plaintiff cannot prevent Defendants


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 from copying the aspects of its unicorn that stem from a horned-horse’s anatomical features. The
 Court would conclude that this renders unprotectable most of Plaintiff’s listed aspects. For
 example, horses could stand (or be depicted standing), mid-stride, with weight on their front legs.
 See Folkens v. Wyland Worldwide, LLC, 882 F.3d 768, 775 (9th Cir. 2018) (explaining that a pose
 of two dolphins crossing is not protectable because dolphins can cross in nature). A horse walking
 or standing mid-stride is “an idea expressed in nature,” rendering it unprotectable. Id. Further,
 Plaintiff cannot rely on any aspect of its unicorn’s physiology as protectable because many horses
 have long necks, large heads, strong cheek or chest muscles, flat backs, or manes that lay to one
 side. See Satava, 323 F.3d at 810.1
         In the Court’s opinion, the only aspects of Plaintiff’s unicorn that arguably do not flow
 from a horned-horse’s physiology are its monochromatic white body and the specific qualities of
 the horn. To determine whether these are protectable assets the Court must consider whether they
 are “standard, stock, or common” to depictions of unicorns. Id.
         Plaintiff argues that other cases have held similar elements to be protectable. For example,
 in Aurora World, Inc. v. Ty Inc., a district court noted that the “fanciful” color of a stuffed animal
 – seemingly meaning a color different from how the animal would be found in nature – may be
 protectable. 719 F. Supp. 2d 1115, 1136 (C.D. Cal. 2009); see also Aurora World, Inc. v. Ty Inc.,
 Case No. 09-cv- 08463, 2011 WL 13176413, at *18 (C.D. Cal. Mar. 14, 2011) (noting that
 coloration of stuffed animals can be a protectable element). Next, Plaintiff directs the Court to
 Lisa Frank, Inc. v. Orb Factory Ltd., CV-15-433-TUC, 2017 WL 6000477 (D. Ariz. Sept. 21,
 2017), which found that there was a triable issue on the substantial similarity between two school
 folders that both depicted a white unicorn, lifting its front leg, looking over its shoulder, and set
 underneath a rainbow. See id. at *10-11; see also Opp’n at 9 (for both images). The court did not
 separate out the protectable from unprotectable elements of the unicorn drawings or even really
 explain its analysis. Lisa Frank, Inc., 2017 WL 6000477, at *8-10.
         Aurora World, Inc. and Lisa Frank, Inc. only get Plaintiff so far though. While the Court
 does not doubt that coloration can be protectable in certain situations, like in Aurora World, Inc.,
 that does not answer the instant question. The pinkness of a panda portrayal might be protectable;
 the pinkness of a pig not so much. Therefore, the Court must examine the originality of depicting

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   Plaintiff has not argued that the combination of the otherwise unprotectable elements may qualify for protection.
 See Satava, 323 F.3d at 811.



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 a unicorn as white with a golden horn. Likewise, the Court agrees that a drawing of a unicorn can
 be so original as to garner copyright protection, like in Lisa Frank, Inc., but it still must examine
 Plaintiff’s unicorn to determine whether it rises to that level.
         In answering these questions, the Court asks whether the Plaintiff’s color scheme of
 monochromatic white body and gold horn is protectable. First, the Court does not think the
 whiteness of the unicorn is protectable. Depicting a unicorn as white seems the “standard, stock,
 or common” approach to unicorns. Even setting aside the dictionary definition of unicorns as
 “usually white,” the Court thinks that when most people picture unicorns they envision an ethereal
 white animal. See RJN, Exhibit A, Docket No. 18-1; see also Opp’n at 9 (depictions of unicorns
 in Lisa Frank, Inc. show the creatures with white bodies). True, not all depictions of unicorns
 need be white, but a white unicorn is a common enough trope that the Court would not find that
 aspect of Plaintiff’s work to be protectable.2 Likewise, a golden horn might not be as common an
 image as a white body, but the Court thinks that it is a pretty standard feature of depictions of
 unicorns and would not find it protectable. In essence, the Court thinks Plaintiff is trying to protect
 the “idea of producing a [gold and white unicorn and the] elements of expression that naturally
 follow from” that idea.” See Satava, 323 F.3d at 810.
         Even if the Court were to conclude that the above-listed aspects of Plaintiff’s unicorn were
 protectable, it still notes that there are many differences between the beasts. Plaintiff’s unicorn is
 shorter and squatter than Defendants’ thin, long-legged version. Defendants’ unicorn has a short
 tail and its hooves are bigger. Also, it’s ears are more upright, and its neck is raised so that it is
 less parallel to the ground than Plaintiff’s creature. Importantly, the horns themselves seem
 different to the Court both in terms of their length and angle. In effect, the Court sees the unicorns
 as pretty different but for the color of the body and the horn.
         As such, the Court would dismiss Plaintiff’s copyright claim for failure to demonstrate
 infringement of protectable aspects of its work.
         C. Breach of Contract
         Plaintiff alleges that Defendants breached the NDA by not “maintain[ing the]
 confidentiality of design proposals” provided to Defendants and by “using the design[] proposals”
 at the San Francisco Museum of Ice Cream. See Complaint ¶¶ 47, 49. Defendants argue that the

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   The Court would not be persuaded by the monochromatic aspect either. Without more, the Court does not think that
 an animal sculpture that is all one color is protectable – it seems like the glass-in-glass technique in Satava.



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 breach claim should be dismissed because the NDA only protects Plaintiff’s “Confidential
 Information,” and Defendants did not disclose any. See Motion at 21-22. Specifically, for the
 purposes of the NDA, “Confidential Information shall not include information which (a) was or
 becomes generally available to the public . . . .” See Declaration of Gazal Pour-Moezzi ISO
 Motion, Exhibit B (“NDA”), Docket No. 17-4, at 2. And that, because “Plaintiff does not have a
 monopoly on all depictions of a white unicorn,” the Defendants’ unicorn was not a disclosure of
 “Confidential Information.” Motion at 22.
        Plaintiff responds that even if the unicorn were not entitled to copyright protection, its
 disclosure could still constitute a breach of the NDA. See Opp’n at 13 (“[E]ven if instead of a
 detailed design proposal, Plaintiffs had provided just a short, simple email that said, ‘We propose
 a unicorn in the rainbow room for the Museum of Ice Cream,’ that would still qualify as
 Confidential Information under the NDA subject to nondisclosure under the facts alleged in the
 Complaint.”). Defendants respond that pursuant to the NDA they could not have used (and did
 not use) Plaintiffs’ design proposal as a whole. Reply at 9.
        The Court does not think that protections under copyright law and the definition of
 “Confidential Information” under the NDA are coextensive, such that the Court’s tentative ruling
 on the copyright claim dictates its ruling on this breach of contract claim. In other words, the
 Court can imagine an example where a piece of work is not subject to protection under copyright
 law but would be considered “Confidential Information.”
        The NDA defines “Confidential Information” as:
                [A]ny information disclosed by or on behalf of the Disclosing Party
                to the Recipient at any time before or after the execution of this
                Agreement relating to the Subject Matter described above,
                including, without limiting the generality of the foregoing, any
                drawings, notes, data, reports, photographs, audio and/or video
                equipment, models, samples and the like and any copies or
                reproductions thereof.
 NDA at 1. The “Subject Matter described above” is:
                Any Confidential or proprietary information of the Disclosing Party
                or its clients including but not limited to technical and financial
                information, proprietary data, know-how, designs, specifications,
                drawings, applications, manufacturing materials and methods
                regarding the Disclosing Party’s or its clients’ plans, programs,
                processes, products, costs, equipment, operations, clients
                or customers.



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 Id.
           At this stage in proceedings, the Court is inclined to read the definition of “Confidential
 Information” broadly, such that “any information disclosed by” Plaintiff could include the idea or
 concept of placing a white unicorn in a rainbow-themed room. Cf. Montz v. Pilgrim Films &
 Television, Inc., 649 F.3d 975, 981 (9th Cir. 2011). Further, the Court does not think that the idea
 of a white unicorn in a rainbow-themed room was “generally available to the public” and thereby
 excluded from the definition of “Confidential Information.”
           As such, the Court is inclined to deny the Motion as it pertains to the breach of contract
 claim.3
           D. Unjust Enrichment and UCL Claim
           Defendants address these causes of action together and the Court will do the same.
 Defendants argue that the Copyright Act preempts Plaintiff’s Unjust Enrichment and UCL Claims
 because: (1) Plaintiff’s work falls within the subject matter of the Copyright Act, and (2) the rights
 asserted in these claims are “equivalent to” those protected in the Copyright Act. Motion at 18
 (citing Downing v. Abercrombie & Fitch, 265 F.3d 994, 1003 (9th Cir. 2001)). Material does not
 necessarily need to be protected under the Copyright Act to fall within its subject matter. See
 Firoozye v. Earthlink Network, 153 F. Supp. 2d 1115, 1124 (N.D. Cal. 2001). As to the second
 prong, “a right which is the ‘equivalent to copyright’ is one that is infringed by the mere act of
 reproduction.” Laws v. Sony Music Entm’t, 448 F.3d 1134, 1144 (9th Cir. 2006). It is not enough
 that the state law claim has an additional element, that additional element “must transform the
 nature of the action.” Id.
           Plaintiff only argues that its “state-law claims are grounded in the [tort of] breach of the
 confidential relationship between the Parties.” Opp’n at 12-13. Plaintiff continues that the
 Copyright Act does not preempt this tort. Defendants argue that Plaintiff has not pleaded a
 “confidential relationship” because the parties had an “arm-length transactional relationship, not a
 fiduciary one.”
           The Court is inclined to agree with Defendants. Although the parties entered into the NDA,
 the Court does not believe that that connection alone is sufficient to establish a “confidential
 relationship” akin to a fiduciary relationship. See 4 Nimmer on Copyright § 19D.02[A][2][a]

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   The Court notes that it would not be inclined to retain jurisdiction of this case if the copyright claim is ultimately
 dismissed.



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 (“The essence of a confidential relationship between a plaintiff and a defendant is an acceptance
 by defendant of plaintiff’s trust. When [] such a relationship exists, the law imposes duties on
 defendant in the nature of a fiduciary.” (internal quotation marks and alterations omitted)); id. at §
 19D.05[B][2] (citing Davies v. Krasna, 14 Cal. 3d 502 (1975), and explaining that handing over
 information in confidence does not create a “confidential relationship.”). As such, the Court would
 grant the Motion as to Plaintiff’s Unjust Enrichment and UCL Claims.
        E. Bunn in her Individual Capacity
        Defendants argue that the Court should dismiss the claims against Bunn in her personal
 capacity. Motion at 23.
        As to the breach of contract claim, Defendants argue that Bunn signed the NDA on behalf
 of 1AND8 and that directors and officers are not personally liable on contracts they sign unless
 they expressly agree to bind themselves. Id. Plaintiff responds that it alleged that both 1AND8
 and Bunn were bound by the contract and that Bunn signed the NDA. See Opp’n at 14. Further,
 Plaintiff argues that the NDA binds the “recipient,” which here is designated as “vendor.” See
 NDA at 1. Bunn signed under “recipient.” Id. at 3. There is no mention of 1AND8 in the NDA.
        On these alleged facts, the Court would deny Defendants’ Motion to dismiss Bunn in her
 individual capacity from the breach of contract claim.
        Even though the Court would grant Defendants’ motion as to all Defendants on the
 remaining claims, the Court notes that it would conclude that Bunn should not be dismissed on the
 separate basis that she was not acting in her individual capacity. Plaintiff alleges that Bunn
 personally viewed Plaintiff’s design proposals and then claimed that the San Francisco Rainbow
 Room was “[her] reaction to what’s going on.” The Court thinks this is enough to plead that Bunn
 directed the infringement or was the “guiding spirit” or “central figure.” See Bangkok Broad. &
 T.V. Co. v. IPTV Corp., 742 F. Supp. 2d 1101, 1115 (C.D. Cal. 2010)
 IV.    Conclusion
        For the foregoing reasons, the Court would grant in part and deny in part Defendants’
 Motion. The Court would deny the Motion as to the breach of contract claim but would grant as
 to the remaining claims. Pursuant to Federal Rule of Civil Procedure 15(a)(2), the Court would
 give leave to amend and as such Plaintiff shall be given until November 29, 2018 to file a First
 Amended Complaint.




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